                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:13-00120
                                                     )       JUDGE CAMPBELL
BENITO RAYO ROSAS,                                   )
MIGUES ANGEL GARCIA NAVARRO, and                     )
CUAUHTEMOC SARAFIN-BENITIZ                           )

                                              ORDER

         Pending before the Court is a Motion of the United States to Dismiss Asset From Forfeiture

Allegation in Indictment (Docket No. 56). The Motion is GRANTED.

         It is so ORDERED.

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                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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